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                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk=s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption             Espin et al v. Citibank, N.A (Case No. 23-2083)

         Originating No. & Caption Espin et al v. Citibank, N.A. (22-cv-00383-BO-RN)
         Originating Court/Agency         U.S. District Court for Eastern District of North Carolina


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals             9 U.S.C. §16(a)

         Time allowed for filing in Court of Appeals                      30 days

         Date of entry of order or judgment appealed                       September 29, 2023

         Date notice of appeal or petition for review filed                October 13, 2023

         If cross appeal, date first appeal filed
         Date of filing any post-judgment motion
         Date order entered disposing of any post-judgment motion
         Date of filing any motion to extend appeal period
         Time for filing appeal extended to
         Is appeal from final judgment or order?                           F Yes              F No
         If appeal is not from final judgment, why is order appealable?
         9 U.S.C. § 16(a) gives Citibank a statutory right to appeal from an order denying a motion to
         compel arbitration under 9 U.S.C. §§ 3-4. Citibank has appealed from such an order here.



         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at 843-731-9099.)

         Is settlement being discussed?                       F Yes                    F No



        1/28/2020 SCC
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         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                 F Yes                      F No
         Has transcript been filed in district court?          F Yes                      F No
         Is transcript order attached?                         F Yes                      F No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case             N/A

         Case number of any pending appeal in same case            N/A

         Identification of any case pending in this Court or N/A
         Supreme Court raising similar issue
                                                             If abeyance or consolidation is warranted,
                                                             counsel must file an appropriate motion.
         Is expedited disposition necessary?                       F Yes                    F No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                               F Yes                    F No
         Does case involve question of first impression?           F Yes                    F No
         Does appeal challenge constitutionality of federal        F Yes                    F No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
         See Attachment 1.
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         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

         See Attachment 2




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party=s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party: Pablo Espin (see Attachment 3 for      Adverse Party: Nicholas Padao (see Attachment 3
         additional counsel)                                   for additional counsel)
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         Adverse Parties (continued)
         Adverse Party: Jeremy Bell (see Attachment 3          Adverse Party: Keith Taylor (see Attachment 3
         for additional counsel)                               for additional counsel)
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         Appellant (Attach additional page if necessary.)

         Name: Citibank, N.A. (see Attachment 3 for          Name:
         additional counsel)
         Attorney: Andrew J. Pincus                          Attorney:
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         Appellant (continued)
         Name:                                               Name:


         Attorney:                                           Attorney:
         Address:                                            Address:




         E-mail:                                             E-mail:

         Phone:                                              Phone:


                    /s/ Andrew J. Pincus
         Signature: ____________________________________                              10/31/23
                                                                          Date: ___________________

                      Citibank, N.A.
         Counsel for: _____________________________________________________________


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
         document was served on ____________ by [ ] personal delivery; [ ] mail; [ ] third-party
         commercial carrier; or [ ] email (with written consent) on the following persons at the
         addresses or email addresses shown:




         Signature:                                         Date:
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                      Espin et al. v. Citibank, N.A. - Docketing Statement
                                 Nature of Case (Attachment 1)

        This is an appeal from the denial of defendant Citibank, N.A.’s motion to compel
        plaintiffs to arbitrate their claims and to stay the district court action until the arbitrations
        are concluded. The Federal Arbitration Act authorizes an interlocutory appeal from the
        denial of such a motion. 9 U.S.C. § 16(a).

        The plaintiffs are current or former active-duty servicemembers who filed a putative class
        action challenging aspects of Citibank’s credit card benefits program for members of the
        military. The Servicemembers Civil Relief Act (SCRA) caps at 6% the interest rate charged
        to active duty servicemembers on their credit card debt incurred prior to active duty
        service. 50 U.S.C. § 3937(a)(1). Citibank’s program is more protective of servicemembers’
        interests than the SCRA requires: Under Citibank’s program, active duty servicemembers
        receive a 0% rather than 6% rate, and that 0% rate applies both to preexisting balances
        and new purchases made while the individual is on active duty. Plaintiffs nonetheless
        allege that Citibank’s benefits program is unlawful and was designed to attract military
        customers who subsequently would be required to pay normal, contractually-specified
        rates on their balances once they left active service. Plaintiffs allege that the program
        violates the SCRA, the Military Lending Act (MLA), the Truth in Lending Act (TILA) as
        amended by the CARD Act of 2009, and the contracts between Citibank and its customers.
        Citibank strenuously denies the allegations.

        Because each plaintiff entered into a cardmember agreement with Citibank that includes
        an arbitration clause, Citibank moved to compel arbitration. The district court denied the
        motion.

        The district court’s order denying arbitration turned entirely on a 2019 amendment to the
        SCRA, which added a provision stating that covered servicemembers asserting SCRA
        claims may “be a representative party on behalf of members of a class or be a member of
        a class, in accordance with the Federal Rules of Civil Procedure, notwithstanding any
        previous agreement to the contrary.” 50 U.S.C. § 4042(a).

        The district court held that this amendment required denial of Citibank’s motion to
        compel arbitration. First, the court relied on its view of the combined effect of (1) what it
        concluded was the SCRA provision’s guarantee that a covered servicemember may bring
        a class action in court notwithstanding an arbitration agreement requiring that disputes
        be determined individually in arbitration, and (2) the non-severability clause in
        Citibank’s arbitration agreement stating that the arbitration agreement would not apply
        to a claim as to which the claimant was entitled to bring a class proceeding. The court
        held that because in its view the SCRA required class proceedings despite the parties’
        agreement to arbitrate on an individual basis, and the arbitration agreement stated that
        it was invalid if class proceedings were required notwithstanding its prohibition on such


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        proceedings, the arbitration agreement was invalid. The district court held in addition
        that the SCRA amendment invalidates agreements to arbitrate on an individual basis.
        Finally, the court held that the SCRA amendment applies retroactively to arbitration
        agreements like the plaintiffs’ that were formed before the enactment of the 2019
        amendment.

        Although the SCRA amendment expressly applies only to SCRA claims—and therefore
        does not apply to plaintiffs’ other claims in this case (e.g., the MLA, TILA, and contract
        claims)—the court nonetheless held that the SCRA amendment invalidated the
        arbitration agreement as to all claims. The court did not reach plaintiffs’ remaining
        arguments that (1) the MLA invalidates their arbitration agreements; and (2) that those
        agreements are invalid because they are unconscionable and violate public policy.




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                      Espin et al. v. Citibank, N.A. - Docketing Statement
                           List of Issues on Appeal (Attachment 2)

               1) Whether the 2019 amendment to the Servicemembers Civil Relief Act, 50
        U.S.C. § 4042(a)(3), which does not mention arbitration, overrides the Federal
        Arbitration Act's requirement that courts enforce arbitration agreements providing for
        individualized arbitration of federal statutory claims.

               2) If 50 U.S.C. § 4042(a)(3) does not override the Federal Arbitration Act, whether
        the district court erred in holding that language in the arbitration agreements
        prohibiting arbitrators from resolving class claims entitles plaintiffs to bring a class
        action in court.

               3) If 50 U.S.C. § 4042(a)(3) does override the Federal Arbitration Act, whether it
        applies retroactively to invalidate arbitration agreements entered into before the
        provision's enactment.

               4) If 50 U.S.C. § 4042(a)(3) overrides the Federal Arbitration Act and applies
        retroactively, whether it invalidates plaintiffs’ agreements for individual arbitration of
        non-SCRA claims.

                5) Whether the provisions of the Military Lending Act invalidating certain
        arbitration agreements (50 U.S.C. §§ 987(e)(3) & (f)(4)) apply to arbitration clauses in
        credit card agreements for accounts opened before the Department of Defense exercised
        its delegated authority to extend the Act’s provisions to credit cards.

               6) Whether the agreements between Citibank and plaintiffs providing for
        arbitration of disputes arising out of or relating to plaintiffs’ credit card accounts are
        unconscionable or violate public policy.




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                    Espin et al. v. Citibank, N.A. - Docketing Statement
                            Additional Counsel (Attachment 3)

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